17-10751-mew         Doc 3707        Filed 08/01/18 Entered 08/01/18 17:05:31          Main Document
                                                  Pg 1 of 1
  


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re                                                          :
                                                                :   Chapter 11
 WESTINGHOUSE ELECTRIC                                          :
 COMPANY LLC, et al.,                                           :   Case No. 17-10751 (MEW)
                                                                :
                            Debtors.                            :   (Jointly Administered)
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     ORDER REGARDING OBJECTIONS BY VARIOUS LANDSTAR ENTITIES TO
           NOTICES OF PARTIAL TRANSFERS OF CLAIM FILED BY
                     VARIOUS WHITEBOX ENTITIES

         On March 15, 2018, Landstar Global Logistics, Inc., Landstar Inway, Inc., and Landstar

 Express America, Inc. filed an objection (the “Objection”) (ECF No. 2857) to the notices of

 transfers of claims previously filed by Whitebox Multi-Strategy Partners, LP, and Whitebox

 Asymmetric Partners, LP (ECF Nos. 2427 through 2433).

         On July 18, 2018, the Court held a hearing on the Objection and has issued a written

 decision sustaining Landstar’s objection (ECF No. 3706). For the reasons stated in the written

 decision, it is hereby ORDERED THAT:

         1. The transfer notices, ECF Nos. 2427 through 2433, should be canceled and

              withdrawn; and

         2. The Claims and Noticing Agent should recognize the Landstar entities that filed

              proofs of claim Nos. 848, 853, and 1543 as the proper owners of those claims.

 Dated: New York, New York
        August 1, 2018

                                                               s/Michael E. Wiles ______________
                                                               HONORABLE MICHAEL E. WILES
                                                               UNITED STATES BANKRUPTCY JUDGE




  
